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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

THIS DOCUMENT RELATES TO:
                                                      MDL No. 2084
       County of Lake, Ohio v. Purdue Pharma,
       L.P., et al.,                                  Case No. 17-md-2804
        Case No. 18-op-45032 (N.D. Ohio)
                                                      Judge Dan Aaron Polster
       County of Trumbull, Ohio v. Purdue
       Pharma, L.P., et al.,
        Case No. 18-op-45079 (N.D. Ohio)

“Track 3 Cases”



                                   NOTICE OF APPEAL

        Defendants CVS Pharmacy, Inc., Ohio CVS Stores, L.L.C, CVS TN Distribution, L.L.C,
CVS Rx Services, Inc., and CVS Indiana L.L.C. (“CVS”) hereby appeal to the United States Court
of Appeals for the Sixth Circuit from the final judgment entered on August 22, 2022 (Dkt. 4614),
as well as all orders leading to that judgment. While CVS Pharmacy, Inc. was the only CVS entity
named on the verdict form, in an abundance of caution to avoid any risk of waiver or forfeiture,
the other CVS entities named in the suit—Ohio CVS Stores, L.L.C, CVS TN Distribution, L.L.C,
CVS Rx Services, Inc., and CVS Indiana L.L.C.—join in the appeal.

Dated: September 7, 2022                    /s/ Eric R. Delinsky
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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via email on all
counsel of record on September 7, 2022.


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